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                                      UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA


      NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY


                 This case has been assigned to District Judge Beverly Reid O'Connell and the assigned
           discovery Magistrate Judge is Margaret A. Nagle.

           The case number on all documents filed with the Court should read as follows:
                                               CV13- 5167 BRO (MANx)
            Pursuant to General Order 05-07 of the United States District Court for the Central
      District of California, the Magistrate Judge has been designated to hear discovery related
      motions.



      All discovery related motions should be noticed on the calendar of the Magistrate Judge




                                                             NOTICE TO COUNSEL

   A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is
   filed, a copy of this notice must be served on all plaintiffs).

   Subsequent documents must be filed at the following location:

   [_] Western Division                           [_] Southern Division                          [_] Eastern Division
         312 N. Spring St., Rm. G-8                     411 West Fourth St., Rm. 1-053               3470 Twelfth St., Rm. 134
         Los Angeles, CA 90012                          Santa Ana, CA 92701-4516                     Riverside, CA 92501




   Failure to file at the proper location will result in your documents being returned to you.




   CV-18 (03/06)            NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY
